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                  IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION

HEADHUNTER, LLC,                    Case No. 5:17-cv-00069-EKD

                                    VOLUNTARY DISMISSAL OF ALL
            Plaintiff,              REMAINING DEFENDANTS AND ACTION
      vs.

DOE 1,

            Defendants.


            VOLUNTARY DISMISSAL OF PARTIES AND ACTION

      Plaintiff Headhunter, LLC, by and through its undersigned counsel, pursuant to
Rule 41(a)(1) of the Federal Rules of Civil Procedure, hereby submits this
Voluntary Dismissal of Action, without prejudice as to all remaining defendants.
Accordingly, nothing further remains to be done in this action and the case closed.

DATED: March 24, 2019                 Respectfully submitted,


                                      By:     /s/Dale R. Jensen
                                             Dale R. Jensen (VSB 71109)
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                         CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2019, the foregoing document was filed
electronically. Service of this filing will be made on all ECF-registered counsel by
operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

                                             By: /s/ Dale R. Jensen
                                                 Dale R. Jensen
                                                 Counsel for Plaintiff
